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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

__________________________________________
                                          )
CENTER FOR IMMIGRATION STUDIES            )
                                          )
            Plaintiff                     )
                                          ) Civil Action No. 1:19-cv-00087-ABJ
                    v.                    )
                                          ) Oral Argument Not Requested
RICHARD COHEN and HEIDI BEIRICH           )
                                          )
            Defendants                    )
__________________________________________)




PLAINTIFF CENTER FOR IMMIGRATION STUDIES’ RESPONSE MEMORANDUM
          IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS

       Plaintiff Center for Immigration Studies (“CIS”), by undersigned counsel, hereby submits

its response memorandum in opposition to Defendants Richard Cohen and Heidi Beirich’s

(“Defendants” collectively) Fed. R. Civ. P. 12(b)(6) Motion to Dismiss. 1




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 The Defendants’ Memorandum in Support of Their Motion to Dismiss (Doc. 11) will be cited
as “Motion at _.” Citations to CIS’ Complaint will be to “¶_.”
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                                        INTRODUCTION

       Center for Immigration Studies’ RICO claim is predicated on the ongoing scheme to

defraud it of support from its donors by falsely calling it a “hate group,” a term typically used by

Defendants to connote racism. Being labeled a racist or a racist organization is the worst form of

opprobrium in modern day America. It inevitably causes immediate and permanent damage—

the Defendants’ goal being to “wreck” and “destroy” CIS financially. ¶¶12, 22. In this case, it

has cost CIS at least $10,000 in lost donations so far and will continue to cost it money as long as

Defendants continue their ongoing and never-ending campaign to destroy it.

       In their Fed. R. Civ. P. (“Rule”) 12(b)(6) Motion to Dismiss, the Defendants do not make

any meaningful challenge to the elements of a RICO claim under 18 U.S.C. §§1962(c) and (d),

instead relegating a few cursory points together in one footnote. Rather, the Defendants base

their entire Motion to Dismiss on the theory that they have a constitutional right to falsely call

CIS a hate group. This is wrong. The First Amendment does not apply to CIS because it is not a

“state actor,” an issue the Motion completely ignores. Nor is the state action requirement

satisfied because the case is brought pursuant to a federal statute. See, e.g., American Mfrs. Mut.

Ins. Co. v. Sullivan, 526 U.S. 40, 50 (1999)(holding that state action is only created when a

deprivation is caused by a right or privilege created by the state). Thus, the First Amendment

argument is completely frivolous.

       Congress knew precisely what it was doing in 1970 when it enacted RICO. It studied

federal and state law and found the “remedies available [in certain cases]…are unnecessarily

limited in scope and impact…” Statement of Findings and Purpose, Pub. L. 91-452, 84 Stat. 923

(1970). It then had as its purpose to “provid[e] enhanced sanctions and new remedies…[in

RICO].” Id. It went further, providing that RICO should be “liberally construed to effectuate its



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remedial purposes.” Pub. L. 91–452, §904(a), 84 Stat. 947; see also Sedima, S.P.R.L. v. Imrex

Co., 473 U.S. 479, 497–98 (1985)(same). Thus, cases falling within the statute should be

welcomed by the courts as “[t]he object of civil RICO is thus not merely to compensate victims

but to turn them into prosecutors, private attorneys general, dedicated to eliminating racketeering

activity.” Rotella v. Wood, 528 U.S. 549, 557 (2000)(quotations omitted).

        That said, the Supreme Court also squarely teaches that making misrepresentations to

harm a business rival will support a RICO claim. It makes no difference that the claim could

have been brought as a common law tort or unfair competition action. See Bridge v. Phoenix

Bond & Indem. Co., 553 U.S. 639, 649-50 (2008)(“suppose an enterprise that wants to get rid of

rival businesses mails misrepresentations about them to their customers and suppliers, but not to

the rivals themselves. If the rival businesses lose money as a result of the misrepresentations, it

would certainly seem they were injured in their business ‘by reason of’ a pattern of mail

fraud…”, unanimously affirming using RICO against competing bidder for lost profits). The

only differences from that case are that the SPLC enterprise is not a competitor of CIS and the

federal wires were used rather than the mails. But those differences are insignificant. SPLC’s

goal is to “destroy” and “wreck” CIS financially (¶¶12, 22) by making false statements about it.

It is actionable under RICO, given the ongoing nature of the scheme.

                                    STANDARD OF REVIEW

        “To survive a motion to dismiss, a complaint must contain sufficient factual matter,

accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556

U.S. 662, 678 (2009). “A claim has facial plausibility when the plaintiff pleads factual content

that allows the court to draw the reasonable inference that the defendant is liable for the

misconduct alleged.” Franklin v. Capitol Hilton Hotel, 325 F. Supp. 3d 25, 28 (D.D.C.



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2018)(quotations omitted). “In evaluating a Rule 12(b)(6) motion to dismiss for failure to state a

claim, the court must construe the complaint in a light most favorable to the plaintiff and must

accept as true all reasonable factual inferences drawn from well-pleaded factual allegations.” Id.

Determining the sufficiency of a complaint under Rule 12(b)(6) “is not a ‘fact-based’ question of

law” (Iqbal, 556 U.S. at 674), therefore, any disputes or denials to the facts alleged in the

Complaint belong in Defendants’ Answers, not in a Motion to Dismiss.

                                           ARGUMENT


               I.      The First Amendment Does Not Apply To CIS Because It Is Not A
                       State Actor
       The First Amendment only applies to state action, not to private parties. See, e.g., Sharp

Corp., v. Hisene USA Corp., 292 F. Supp. 3d 157, 177-78 (D.D.C. 2017)(“At bottom, the First

Amendment ‘is a restraint on government action, not that of private persons,’” rejecting

argument for a “general public policy in favor of free speech” as an “end-run around the state

action doctrine”); Bronner v. Duggan, 249 F. Supp. 3d 27, 41 (D.D.C. 2017)(“generally

applicable laws do not offend the First Amendment simply because their enforcement…has

incidental effects on expression…To trigger First Amendment protection, the infringement upon

speech must have arisen from state action of some kind.”)(quotations omitted). The Complaint

alleges no state action. The Defendants are employees of SPLC, a private non-profit entity. ¶¶3,

27. And the Motion does not even make the suggestion of any state action. It is a stunning

omission and is fatal to the First Amendment argument.

       CIS anticipates Defendants will attempt to salvage their argument in their reply with the

contention that state action is supplied by the mere use of the RICO statute. But this is wrong.

In order to show state action in a constitutional deprivation the plaintiff must satisfy the Supreme

Court’s stringent two-part test requiring the loss of “some right or privilege created by the state”

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caused by a “state actor.” See, e.g., American Mfrs, 526 U.S. at 50. There, the Supreme Court

rejected the contention that private insurers were state actors because they availed themselves of

a state statute which allegedly deprived plaintiffs of due process. It explained: “We have never

held that the mere availability of a remedy for wrongful conduct, even when the private use of

that remedy serves important public interests, so significantly encourages the private activity as

to make the State responsible for it.” Id. at 53; see also, Flagg Bros, Inc. v. Brooks, 436 U.S.

149, 165 (1978)(“By the same token, the State of New York is in no way responsible for Flagg

Brothers’ decision, a decision which the state in §7-210 permits but does not compel,” rejecting

the contention that a private party’s use of a statute which led to an alleged constitutional tort

made it a state actor).

        The D.C. Circuit used the same reasoning to reject the claim that the deprivation of strike

benefits becomes a First Amendment violation merely because it was authorized by a collective

bargaining agreement governed by the National Labor Relations Act, a federal statute. See

Kelinske v. Lubbers, 712 F.2d 471, 476 (D.C. Cir. 1983)(applying the Supreme Court’s two-part

test for state action). And this Court has applied this reasoning in the First Amendment context.

Bronner, 249 F. Supp. 3d at 41 (“Mere approval of or acquiescence in the initiatives of a private

party does not constitute state action in the First Amendment context,” rejecting First

Amendment challenge to actions of a private non-profit group). Thus, there is plainly no state

action here and, accordingly, the First Amendment does not apply.

        But even absent the state action question, the First Amendment does not apply to

fraudulent statements, which is what this Complaint alleges. See, e.g., Illinois, ex rel. Madigan v.

Telemarketing Assocs., Inc., 538 U.S. 600, 612 (2003)(“But the First Amendment does not shield




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fraud.”)(citing authorities); United States v. Philip Morris USA Inc., 566 F.3d 1095, 1123 (D.C.

Cir. 2009)(same).

       Moreover, “[r]esort to epithets or personal abuse is not in any proper sense

communication of information or opinion safeguarded by the Constitution.” Cantwell v.

Connecticut, 310 U.S. 296, 309-10 (1940). Such were the views of the Court in Chaplinsky v.

State of New Hampshire, 315 U.S. 568, 571–72 (1942): “There are certain well-defined and

narrowly limited classes of speech, the prevention and punishment of which have never been

thought to raise any Constitutional problem. These include the…libelous, and the insulting or

‘fighting’ words—those which by their very utterance inflict injury…” Id.; see also Beauharnais

v. People of the State of Ill, 343 U.S. 250, 257-58 (1952)(“No one will gainsay that it is libelous

falsely to charge another with being a rapist, robber, [or a] carrier of knives ….”, upholding

criminal libel statute). Thus, the epithet “hate group,” which is an SPLC euphemism for “racist,”

is unprotected by the First Amendment if made falsely.

       Accordingly, courts have rejected First Amendment challenges to fraudulent or

extortionate speech in RICO cases. See, e.g., Smithfield Foods, Inc. v. United Food and

Commercial Workers Intern. Union, 585 F. Supp. 2d 789, 806 (E.D. Va. 2008)(rejecting First

Amendment challenge to RICO claim predicated on extortion); Titan Intern., Inc. v. Becker, 189

F. Supp. 2d 817, 827 (C.D. Ill. 2001)(“The First Amendment does not protect threatening

speech,” denying motion to dismiss RICO claim); Teamsters Local 372, Detroit Mailers Union

Local 2040 v. Detroit Newspapers, 956 F. Supp. 753, 762 (E.D. Mich. 1997)(rejecting First

Amendment to RICO because alleged protected speech was also criminal). So the First

Amendment is not a shield from RICO.




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                 II.     The Complaint Does Not Allege Defamation


          The Motion contends that “what CIS alleges is garden-variety defamation- not wire

fraud.” Motion at 10. It asserts, citing Porcelli v. United States, 404 F.3d 157, 162 (2d Cir.

2005), that wire fraud requires a showing of “intent to profit.” Id. But the wire fraud statute2

does not have that requirement, and has not been interpreted to have it by this Circuit. Rather,

this Court has rejected the argument that the mail and wire fraud statutes are to be read like the

common law of fraud, which does require that the defendant obtain the victim’s property. See,

United States v. Han, 280 F. Supp. 3d 144, 153 (D.D.C. 2017)(“Unlike the common-law fraud,

which has an essential element that the defendant actually obtain or cause another to lose

property, the focus in wire fraud is on the intent and purpose. A defendant who devised a

scheme to bilk a victim out of his money using wire communications but never received any

property can be guilty of wire fraud but not first-degree fraud.”)(citations and quotations

omitted).

          This Court has therefore applied this principle to a civil RICO claim where the defendant

did not obtain, or intend to obtain, property from the victim, but rather merely used interstate

wires to harm the victim. See Feld Entertainment Inc. v. American Society for the Prevention of

Cruelty to Animals, 873 F. Supp. 2d 298, 318 (D.D.C.)(“Mail fraud lies whether or not the

perpetrator ends up with the victim’s property or money,” rejecting the argument Defendants

make); accord United States v. Welch, 327 F.3d 1081, 1106 (10th Cir. 2003)(“We likewise reject


2
    18 U.S.C. §1343 states, in pertinent part:

          Whoever, having devised or intending to devise any scheme or artifice to defraud, or for
          obtaining money or property by means of false or fraudulent pretenses, representations,
          or promises, transmits or causes to be transmitted by means of wire…communication in
          interstate…any writings… for the purpose of executing such scheme or artifice, shall be
          fined under this title or imprisoned not more than 20 years, or both.
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Defendants' argument that the mail and wire fraud counts must allege an intent to achieve

personal gain.”); United States v. Stockheimer, 157 F.3d 1082, 1087–88 (7th Cir. 1998)(“An

intent to defraud [for mail fraud] does not turn on personal gain…all that matters is that he

intended to inflict a loss.”). And the Complaint alleges that it was the Defendants’ goal to

“destroy” and “wreck” CIS financially. ¶¶12, 22. So the Motion’s argument here is wrong and

unsupported by any precedent from this Circuit.

        Moreover, CIS is not suing to redress harm to its reputation, as the Motion at 11

contends. It is suing to redress lost donations. See, e.g., ¶¶23-24. Many RICO cases seek as

damages lost profits. See, e.g., Frydman v. Verschleiser, 172 F. Supp. 3d 653, 668 (S.D.N.Y.

2016)(holding that a RICO complaint alleging “the [false] statements played a material and

substantial part in inducing others not to deal with plaintiffs, with the result that special damages,

in the form of lost dealings, were incurred,” stated a claim); Astech-Marmon, Inc. v. Lenoci, 349

F. Supp. 2d 265, 270 (D. Conn. 2004)(“But if a plaintiff can prove that it lost a contract because

of a racketeering scheme, it is entitled to be compensated for that injury”).

        The Supreme Court affirmed such a case in Bridge (cited supra). The Motion to Dismiss

cites no authority supporting the argument that CIS is not permitted to use RICO to recover

damages caused by the false statements of the Defendants. This case is similar to Bridge and no

legal bar to recovery has been cited.


                III.   The Fraudulent Statement Is Actionable


        The Motion also contends that calling CIS a hate group is non-actionable opinion under

the First Amendment. Motion at 15-19. As detailed above, the First Amendment does not apply

to this case.



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         Additionally, it is hardly clear that calling CIS a hate group is purely an opinion. 3 It is

predicated upon SPLC’s detailed definition of a “hate group,” which is objective and factual.

¶¶13-14. The Motion admits this by detailing SPLC’s “reasons” for designating CIS a hate

group. Motion at 17. CIS’ theory is that it does not meet SPLC’s own hate group definition.

¶¶15-18; Motion at 4. If it does not, which is a question of applying the veracity of the facts to

SPLC’s stated definition, then the designation is false and can support a claim of wire fraud.

This should be a jury question, not something the court can determine now. In United States v.

Philip Morris, 449 F. Supp. 2d 1, 853-54 (D.D.C. 2006) the Court found deceptive statements

about cigarettes to be factual enough to be actionable as wire fraud and RICO.

         The Motion, citing defamation case law, contends this still would not be actionable

“because it constitutes a constitutionally protected conclusion based on disclosed facts.” Motion

at 16. Again, it is retreating to its inapplicable First Amendment analysis. No such theory of

“conclusion based on disclosed facts” exists under wire fraud or RICO. This argument simply

does not apply and must be rejected.


                 IV.    Injunctive Relief Is Permissible Under RICO


         The Motion wrongly contends that an injunction prohibiting Defendants from further

calling CIS a hate group and compelling a retraction are unconstitutional. Motion at 14. Once

again, it is wrong. The D.C. Circuit has affirmed an injunction under RICO to restrain further


3
    See Mar-Jac Poultry v. Katz, 773 F. Supp. 2d 103, 121-22 (D.C. D.C 2001):

       There is no wholesale constitutional protection for expressions of opinion; opinions are
       actionable when a reasonable trier of fact could interpret the statement to imply an assertion
       of objective fact that is defamatory…To ensure space for imaginative expression and
       rhetorical hyperbole, a statement of opinion is actionable only if it implies an explicit or
       implicit factual foundation and therefore is objectively verifiable. (citations, quotations
       omitted).
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false statements. United States v. Philip Morris USA Inc., 801 F.3d 250, 262 (D.C. Cir. 2015).

And it also affirmed an injunction requiring the defendant to make “corrective statements.” Id.,

855 F.3d 321, 325 (D.C. Cir. 2017).


               V.     The Motion’s Cursory Challenges To §1962 Do Not Provide A Basis
                      For Dismissal
       Putting aside the issues related to the First Amendment, the Defendants then attempt to

challenge—in an extraordinarily cursory manner in a footnote 4—various other aspects of the

RICO claim. See Motion at 13, n.4. These arguments also provide no basis for dismissal. 5

       First, the footnote cites Western Assocs. Ltd. P'ship, ex rel. Ave. Assocs. Ltd. P'ship v.

Mkt. Square Assocs., 235 F.3d 629, 634 (D.C. Cir. 2001) for the proposition that there is no

“pattern of racketeering” because there is a single scheme with a single victim. Market Square,

however, deals with how “closed-ended continuity” is analyzed, not “open-ended continuity,”

which is alleged by CIS. See, e.g., ¶¶24, 28. CIS’ allegations of an ongoing scheme beginning

in October 2017 are more than plausible because the Complaint alleges consistent and frequent

blog postings throughout 2018. See ¶19.6 Indeed, a fair reading of the Motion certainly


4
  “A footnote is no place to make a substantive legal argument on appeal; hiding an argument
there and then articulating it in only a conclusory fashion results in forfeiture.” CTS Corp. v.
E.P.A., 759 F.3d 52, 64 (D.C. Cir. 2014); see also John Wyeth & Bro. Ltd. v. CIGNA Int'l Corp.,
119 F.3d 1070, 1076 n.6 (3d Cir. 1997)(“However, arguments raised in passing (such as, in a
footnote), but not squarely argued, are considered waived”). Any attempt by Defendants to
amplify and/or expand these arguments on reply should not be permitted.
5
  “The elements predominant in a subsection (c) violation are: (1) the conduct (2) of an enterprise
(3) through a pattern of racketeering activity.” Salinas v. United States, 522 U.S. 52, 62 (1997).
This case alleges a conspiracy under §1962(d) to violate §1962(c).
6
  The Complaint was filed in early January 2019 and a demand letter with a draft complaint was
sent to Defendants in November 2018. After the Complaint was filed, the Defendants also
recently issued a new posting on their website (“Intelligence Report, Spring 2019, Issue 166,”
posted on February 19, 2019), continuing to label CIS a hate group.
See https://www.splcenter.org/sites/default/files/intelligence_report_166.pdf
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indicates Defendants have no intention of ceasing their postings about CIS in the future. The

threat of repetition is very real. Accordingly, an open pattern is sufficiently alleged. See H.J.

Inc. v. Nw. Bell Tel. Co., 492 U.S. 229, 242–43 (1989)(“The continuity requirement is likewise

satisfied where it is shown that the predicates are a regular way of conducting defendants’

ongoing legitimate business… or of conducting or participating in an ongoing and legitimate

RICO ‘enterprise’”); Heinrich v. Waiting Angels Adoption Servs., Inc., 668 F.3d 393, 410 (6th

Cir. 2012)(finding four predicate acts spanning a two months satisfied open pattern).

       Next, the same footnote contends that Beirich and Cohen’s individual roles in the

conspiracy have not been identified. But this is incorrect. The Complaint alleges that both

Defendants agreed to designate CIS as a hate group, and that Beirich was the person responsible

for creating and posting the steady stream of blogs falsely depicting CIS as a hate group. As the

President of SPLC, Cohen was responsible for approving and directing all of Beirich’s actions in

this regard. See ¶¶8, 9, 10, 13, 18, 19.

       Lastly, CIS’ injury was proximately caused by the wire fraud alleged, contrary to the

same footnote’s contention otherwise. Certainly, CIS’ injuries are not derivative of any other

person’s injuries, there is no more directly injured party who can be counted on to sue for this

violation, and there are no problems apportioning damages. Nor is there any issue with

ascertaining the amount of damages caused by Defendants. Indeed, the amounts of CIS’

damages are quite easily identified. ¶24. That the fraudulent postings were made to a third party

(and not to CIS) does not defeat RICO causation. The Supreme Court has been very clear on

that. See Bridge, 553 U.S. at 660–61 (2008). To be sure, the Complaint specifically alleges that

the AmazonSmile Program removed CIS from its program based on the Defendants’ website




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postings labeling CIS a hate group. ¶¶23-24. Thus, at the pleading stage, CIS has more than met

its burden on proximate causation and damages.

                                            CONCLUSION

        For the reasons stated herein, the Defendants’ Motion to Dismiss should be denied in its

entirety.

Dated: February 26, 2019

                                                            Respectfully submitted,

                                                            /s/ Howard Foster

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                                CERTIFICATE OF SERVICE

        I hereby certify that on February 26, 2019, I served this Response Brief on all counsel of

record, via ecf.


                                                            /s/ Julie Axelrod

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